DEPARTMENT OF CORRECTIONS
Division of Adult Institutions
DOC-0643 (Rev. 8/2022)

WISCONSIN

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{ INTERVIEW/INFORMATIO
Carbon Co? i SOLICITUD PARA INFORMACI

Instruction to Inmate: Do not use this form to contact health staff. Use a Health, | or Psychological Service Request.
Instrucciones para Reclusos: No utilice este formulario para comunicarse con el p gonal de cuidados de salud} Utilice una solicitud de
servicio de cuidados de salud, dentales o psicolégicos. ! —_-
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[_] Interview Entrevista 1 information Informacion

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(Do Not Write Below This Line) (No Escriba Debajo Esta Linea)
DISPOSITION OF REQUEST DISPOSICION DE LA SOLICITUD

[_] You Will Be Interviewed Date: Time:
Usted sera entrevistado Fecha: Hora:

[_] Information to Follow
Informacion Sera Proveida

[_] Request Referred To:
Solicitud Refereida A: ITD

Information/Comment:
Informacion/Comentario:

Signed Firmado Department Departamento

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Case 1:24-cv-00377-WCG __ Filed 08/09/24
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sense Dr EF WISCONSIN

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